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JANELL CAGE

April R. Goode, FPD
Defense Attorney

200 Jefferson Avenue, Suite 200
Memphis, Tennessee 38103

 

AMENDED* JUDGMENT lN A CR|MINAL CASE

AF|'ER RESENTENC|NG
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on October 17, 2003.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & segtign NMU§M offense Number(s)
Concluded
18 U.S.C. § 1029(a)(2) Fraud with unauthorized access device 04/14/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Nlandatory
Victims Ftestitution Act of 1996.

Counts 2 through 6 are dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorneyfor this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soo_ Sec. No. XXX-XX-XXXX Date of Re-lmposition of Sentence:
Defendant's Date of Birth: 02/27/1978 August 17, 2005
Deft’s U.S. Nlarshal No.: 19078-076

Defendant's Residence Address:
3837 Voltaire Avenue
Memphis, TN 38128

diaz/m

SAMUEL H_ MAYS, JFi.
UN|TED STATES D|STFl|CT JUDGE

This dochent entered on the docket sh in omplia ce August l s 12005
with R.sle 55 and/or sztb) FnorP on __ __ mms

 

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Oase No: 03-20233-01-Ma
Defendant Name: Jane|l Cage Page 2 of 5

lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of thirty (30) months_

The Court recommends to the Bureau of Prisons:

That defendant be designated to serve her term of imprisonment at a facility located
closest to her children_

The defendant is remanded to the custody of the United States Marshal_

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Nlarshal

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Case No: 03-20233-01-Ma
Defendant Name: Janel| Cage Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of three (3) years_

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921_

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer_

The defendant shall comply with the following standard conditions that have been
adopted by this court_

STANDARD COND|T|ONS OF SUPERV|S|ON

1_ The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4_ The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5_ The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6_ The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7_ The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed, or administered;

8_ The defendant shall not associate with any persons engaged in criminai activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9_ The defendant shall permit a probation officer fo visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 03-20233-01-Ma
Defendant Name: Jane|l Cage Page 4 of 5

‘iO. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11_ The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12_ As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obtigation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Sohedule of Payments set
forth in the Criminal Monetary Penalties sheet cf this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1_ The defendant shall participate as directed in a program of mental health treatment
approved by the Probation Officer. Further, the defendant shall be required to contribute to
the costs of services for such treatment not to exceed an amount determined reasonable
by the Probation Officer based on ability to pay or availability of third party payment and in
conformance with the Probation Office’s Sliding Scale for Mental Health Treatment Services_

2_ The defendant shall be prohibited from incurring new credit charges, opening additional lines
of creditr or making an obligation for any major purchases without approval of the Probation
Officer_

3_ The defendant shall provide the Probation Officer access to any requested financial
information

4. The defendant shall not be employed where she can obtain access to any personal or

financial information of any other persons.

5_ *The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Case No: 03-20233-01-Nla
Defendant Name: Janel| Cage Page 5 of 5

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(i). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Fiestitution
$100.00 $33.30

The Speclal Assessment shall be due immediately

F|NE
No fine imposed

REST|TUT|ON

Fiestitution in the amount of $33.30 is hereby ordered The defendant shall make
restitution to the following victims in the amounts listed below_

Priorfty Order
Total Amount Amount of or Perosntage
Name of Poyee of Loss Restitution Ordered of Payment
Bank One Card Services $33.30 $33.30
P.O_ Box 1337

Van Aistyne, TX 75495
Atin: investigations Manager
(Fieference: Janell Cage)

if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3864(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Fieasons page.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:03-CR-20233 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed_

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave_

Ste_ 200

i\/lemphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N_ Main St_

Ste_ 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

